           Case 18-10208 Document 166 Filed in TXSB on 04/03/20 Page 1 of 1




                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION                                            ENTERED
                                                                                                 04/03/2020
IN RE:                                             §
BIANCA CRUZ                                        §       CASE NO: 18-10208
       Debtor(s)                                   §
                                                   §       CHAPTER 7

                                          ORDER
                               SETTING ELECTRONIC HEARING
                                     Regarding ECF Nos. 164 & 165

       Pending before the Court is Deighan Law LLC’s Motion To Strike and The United States
Trustee’s Objection.1 It is therefore

          ORDERED: that

              1. A telephonic hearing shall be held before the United States Bankruptcy Court,
                 Southern District of Texas, McAllen, Texas on May 27, 2020 at 10:00 a.m.
                 (Central Standard Time).
              2. Parties are instructed to utilize the call-in instructions for hearings before Judge
                 Rodriguez as reflected in the Court’s Procedures § V, which can be found on the
                 Southern District of Texas Bankruptcy Court’s web page.
              3. Video appearances and witness testimony will be permitted. Parties are to utilize
                 the join.me web-based application. Additional instructions can be found on Judge
                 Rodriguez’s web page.
              4. Within two business days of receipt of this Order, Deighan Law, LLC must serve
                 a copy of this Order on all parties entitled to notice of the hearing and file a
                 certificate of service with the Clerk’s office.



          SIGNED 04/03/2020.


                                                   ___________________________________
                                                           Eduardo V. Rodriguez
                                                        United States Bankruptcy Judge




1
    ECF Nos. 164, 165
1/1
